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IN TI-IE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,

 

Plaintiff,
v. NO. 03-1160 T/An

THYSSENKRUPP ELEVATOR
MANUFACTURING, INC.,

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Defendaot.

 

ORDER

 

Before the Court is the parties’ J 0th Motion to Amend Rule l6(b) Seheduling Order filed
on July 6, 2005. After review, the Court ORDERS that Plaintiff Shall be required to Supplement
its responses to Defendant’s Requests for Production on or before July 20, 2005. Additionally,
the Rule 16(b) Scheduling Order in this matter shall be modified So that Defendant Will have

until July 25, 2005 to tile a Motion to Compel, if any.

M.)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

 

Date: @¢Y

This document entered on the docket Sh et in coom§p!iance
with Rule 58 and,'or'79 (a) FFiCP on

 

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Honorable J ames Todd
US DISTRICT COURT

